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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   DWIGHT DAVID COLEMAN, et al.,

11                  Plaintiffs,                    No. CIV S-11-2226 JAM GGH PS

12          vs.

13   GMAC MORTGAGE, et al.,

14                  Defendants.                    FINDINGS & RECOMMENDATIONS
                                             /
15

16                  By order filed January 20, 2012, plaintiffs were ordered to show cause, within

17   fourteen days, why their action should not be dismissed because either removal was improper

18   and there was no subject matter jurisdiction, or for failure to failure to comply with Fed. R. Civ.

19   P. 4(m). The fourteen day period has now expired, and plaintiffs have not shown cause or

20   otherwise responded to the court’s order.

21                  IT IS HEREBY RECOMMENDED that this action be dismissed without

22   prejudice. See Local Rule 11-110; Fed. R. Civ. P. 41(b).

23                  These findings and recommendations are submitted to the United States District

24   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within fourteen

25   days after being served with these findings and recommendations, plaintiff may file written

26   objections with the court. The document should be captioned “Objections to Magistrate Judge's

                                                      1
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 1   Findings and Recommendations.” Plaintiff is advised that failure to file objections within the

 2   specified time may waive the right to appeal the District Court's order. Martinez v. Ylst, 951

 3   F.2d 1153 (9th Cir. 1991).

 4   DATED: February 16, 2012

 5                                                 /s/ Gregory G. Hollows
                                                  UNITED STATES MAGISTRATE JUDGE
 6   GGH:076/Coleman2226.fsc.wpd


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